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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR07-132-RSL
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   DANH VAN “VICTOR” NGUYEN,            )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Manufacture Marijuana: Conspiracy to Engage in Money

15 Laundering

16 Date of Detention Hearing:     July 30, 2013.

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably

20 assure the appearance of defendant as required and the safety of other persons and the

21 community.

22 / / /



     DETENTION ORDER
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01         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

02         1.      Defendant is a non-citizen of the United States and has been residing in Canada

03 with his defendant spouse, Phoung Thao “Lisa” Tran. He declined to be interviewed by

04 Pretrial Services. Defendant has entered a plea of guilty to the above-referenced charges, and,

05 pursuant to a plea agreement, does not contest entry of an order of detention. Sentencing has

06 been scheduled for November 2013.

07         2.      The Court finds that, based on the record presented, defendant poses a risk of

08 danger and a risk of nonappearance.

09         3.      There does not appear to be any condition or combination of conditions that will

10 reasonably assure the defendant’s appearance at future Court hearings while addressing the

11 danger to other persons or the community.

12 It is therefore ORDERED:

13      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

14         General for confinement in a correction facility separate, to the extent practicable, from

15         persons awaiting or serving sentences or being held in custody pending appeal;

16      2. Defendant shall be afforded reasonable opportunity for private consultation with

17         counsel;

18      3. On order of the United States or on request of an attorney for the Government, the

19         person in charge of the corrections facility in which defendant is confined shall deliver

20         the defendant to a United States Marshal for the purpose of an appearance in connection

21         with a court proceeding; and

22      4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel



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01       for the defendant, to the United States Marshal, and to the United State Pretrial Services

02       Officer.

03       DATED this 30th day of July, 2013.

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                                                       A
                                                       Mary Alice Theiler
                                                       United States Magistrate Judge
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     DETENTION ORDER
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